

Carrier Corp. v Allstate Ins. Co. (2021 NY Slip Op 00776)





Carrier Corp. v Allstate Ins. Co.


2021 NY Slip Op 00776


Decided on February 5, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 5, 2021

PRESENT: WHALEN, P.J., CENTRA, PERADOTTO, WINSLOW, AND BANNISTER, JJ. (Filed Feb. 5, 2021.) 


MOTION NO. (396/20) CA 18-02292.

[*1]CARRIER CORPORATION, ELLIOTT COMPANY, PLAINTIFFS-RESPONDENTS-APPELLANTS, ET AL., PLAINTIFF, 
vALLSTATE INSURANCE COMPANY, SOLELY AS SUCCESSOR-IN-INTEREST TO NORTHBROOK EXCESS AND SURPLUS INSURANCE COMPANY, FORMERLY KNOWN AS NORTHBROOK INSURANCE COMPANY, ET AL., DEFENDANTS, AND FIREMAN'S FUND INSURANCE COMPANY, DEFENDANT-APPELLANT-RESPONDENT.



MEMORANDUM AND ORDER
Motion for leave to appeal to the Court of Appeals denied.








